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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA F I L E D
OCT 22 2020
Clerk, U.S. District & Bankrupt

AARON RICH c ; picy

Plaintiff. ourts for the District of Columbia

Vv. Civil Action No. 1:18-cv-00681-RJL
EDWARD BUTOWSKY, Hon. Richard J. Leon
MATTHEW COUCH, and
AMERICA FIRST MEDIA,
Defendants.

 

 

JOINT STIPULATION BETWEEN PLAINTIFF AND DEFENDANTS
REGARDING DISCOVERY SCHEDULE

Plaintiff Aaron Rich and Defendants Edward Butowsky and Matthew Couch (collectively
“Defendants”), by and through undersigned counsel, have met and conferred and respectfully
request that the Court enter the agreement memorialized herein, which amends the current expert
discovery schedule (Dkt. 255; 9/23/20 Min. Order).

WHEREAS, on September 23, 2020, the Court entered the Joint Stipulation ordering the
parties to exchange initial expert reports by September 28, 2020;

WHEREAS, on September 28, 2020, Plaintiff served four initial expert reports and
Defendants served five initial expert reports;

WHEREAS, on September 29, 2020, Defendants served a sixth initial expert report;

WHEREAS, the current schedule requires the exchange of rebuttal expert reports by
October 30, 2020;

WHEREAS, expert discovery is currently scheduled to close on November 20, 2020;
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WHEREAS, the Local Rules of the United States District Court of The District of
Columbia provide for fourteen days to file a memorandum of points and authorities in opposition
to a motion, LCvR7(b), and for seven days to file a reply memorandum LCvR7(d);

IT IS HEREBY STIPULATED AND AGREED, subject to approval of the Court, that

1) The deadline to file an opposition to the Della Camera Motion to Compel shall be

November 13, 2020 and the deadline to file a reply to said opposition shall be
November 20, 2020;
2) The deadline to file an opposition to the Hersh Motion to Compel shall be November

17, 2020 and the deadline to file a reply to said opposition shall be November 24, 2020.

DATED: October 9, 2020

 

By:/s/ Michael J. Gottlieb By: /s/ Eden P. Quainton

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“ Seymour Hersh
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Joseph Della Camera

SO ORDERED

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THE HONORABLE RICHARD J. LEON
UNITED STATES DISTRICT JUDGE
United States District Court for the District
of Columbia
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CERTIFICATE OF SERVICE

 

The undersigned counsel certifies that on October 9, 2020, the foregoing document was
filed through the CM/ECF system and thereby served electronically on counsel Plaintiff Aaron
Rich. Copies were also served electronically on counsel for third-party witnesses Joseph Della
Camera and Seymour Hersh, on consent, at davida.jackson@dc.gov and
bowmanchad@ballardspahr.com.

Dated: October 9, 2020
By: 4/ Eden Quainton
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